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16

17
                         IN THE UNITED STATES DISTRICT COURT
18
                               FOR THE DISTRICT OF ARIZONA
19
      Kathleen Courkamp, for herself and on behalf       No. 2:19-cv-02689-GMS
20    of other statutory beneficiaries,
                                                         DEFENDANTS’ MOTION TO
21                    Plaintiff,                         STRIKE THE JUNE 7, 2021
                                                         SUPPLEMENTAL EXPERT REPORT
22    v.                                                 AND JULY 16, 2021 REBUTTAL
                                                         EXPERT REPORT OF ALISON
23    Fisher-Price, Inc., a foreign corporation;         VREDENBURGH, PHD, CPE
      Mattel, Inc., a foreign corporation,
24
                      Defendants.
25

26           Defendants Mattel, Inc. and Fisher-Price, Inc., (collectively “Defendants”), by and

27    through their undersigned counsel, and pursuant to Fed. R. Civ. P. 37(c)(1) and the

28    Court’s July 9, 2021 minute entry, move to strike the June 7, 2021 Supplemental Expert
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                                                                           1    Report and July 16, 2021 Rebuttal Expert Report of Plaintiff’s expert witness, Alison
                                                                           2    Vredenburgh, Ph.D., CPE.1
                                                                           3                                       INTRODUCTION
                                                                           4             Plaintiff’s deadline to serve reports setting forth all opinions of her retained
                                                                           5    experts was April 2, 2021. The Court’s case management order made clear no new
                                                                           6    opinions could be offered in later filed rebuttal reports, limiting rebuttal reports “to
                                                                           7    responding to opinions stated by initial experts.” (Dkt. 34) (emphasis added). The
                                                                           8    supplemental and rebuttal reports submitted by Plaintiff’s human factors expert, Dr.
                                                                           9    Alison Vredenburgh, flagrantly ignore this limitation in two ways.
                                                                          10             First, Dr. Vredenburgh’s supplemental and rebuttal reports include brand new
                                                                          11    opinions that could have (and should have) been offered in her initial report but were not.
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                                                                          12    For example, Dr. Vredenburgh’s supplemental report includes—for the first time—
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                                                                          13    proposed text of a warning label she claims should have been used on the Rock ‘n Play
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                                                                          14    Sleeper, as well as photographs showing the location on the product she believes the
                                                                          15    warning should have appeared. This proposed text and accompanying photographs were
                                                                          16    not included in her initial report. Of course, nothing prevented Dr. Vredenburgh from
                                                                          17    including these opinions in her initial report, and these new opinions are not simply a
                                                                          18    “respon[se] to opinions stated by” Defendants’ experts. As discussed more fully below,
                                                                          19    Dr. Vredenburgh’s rebuttal report includes other additional new opinions, such as certain
                                                                          20    analysis and testing she believes Defendants should have undertaken. All these new
                                                                          21    opinions should be stricken as contrary to Rule 26 and the Court’s case management
                                                                          22    order.
                                                                          23

                                                                          24
                                                                                1
                                                                                  Under the Court’s Scheduling Order, Defendants’ sur-rebuttal reports are due on July
                                                                          25    30, 2021—the same day as Defendants’ deadline to file a Motion to Strike as to Dr.
                                                                          26
                                                                                Vredenburgh. While several of Defendants’ experts intend to address Dr. Vredenburgh’s
                                                                                supplemental and rebuttal reports in their sur-rebuttal reports given the July 30, 2021
                                                                          27    deadlines, by doing so Defendants do not waive, and expressly preserve, all arguments
                                                                                in their Motion to Strike and Memorandum of Law in Support of Their Motion to Strike
                                                                          28    regarding Dr. Vredenburgh’s supplemental and rebuttal reports.
                                                                                                                             2
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                                                                           1            Second, before submitting her rebuttal report, Dr. Vredenburgh conducted
                                                                           2    “interviews” of the Plaintiffs, on which she then relies to form opinions about the
                                                                           3    adequacy of the warnings appearing on the Rock ‘n Play Sleeper. These interviews are
                                                                           4    improper and attempt to contradict the sworn testimony given by Plaintiffs at their
                                                                           5    depositions, in essence trying to rehabilitate them on answers that are bad for their case—
                                                                           6    namely, that they indisputably read, fully understood, and were familiar with the
                                                                           7    warnings on the Rock ‘n Play Sleeper, and chose to ignore them. It is completely
                                                                           8    inappropriate for an expert to attempt to change sworn testimony via unsworn, informal
                                                                           9    “interviews” at any time, and even more so in a rebuttal report. Dr. Vredenburgh’s
                                                                          10    opinions must be based on the actual record in the case, not a record she creates after the
                                                                          11    fact. Accordingly, and for this independent reason, Dr. Vredenburgh’s rebuttal report
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                                                                          12    should be stricken.
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                                                                          13                                      RELEVANT FACTS
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                                                                          14       I.      The Court’s Orders Regarding Expert Disclosures
                                                                          15            On October 25, 2019, the Court entered the initial case management order for this
                                                                          16    case. (Dkt. 34). Pertinently, this Order provided that “Plaintiff(s) shall provide full and
                                                                          17    complete expert disclosures, as required by Rule 26(a)(2)(A)-(C) of the Federal Rules of
                                                                          18    Civil Procedure, no later than September 4, 2020.” (Id.). The Order also provided a
                                                                          19    deadline for Defendants to serve expert disclosures pursuant to Rule 26 and further stated
                                                                          20    “Rebuttal expert disclosures, if any, shall be made no later than November 20, 2020.
                                                                          21    Rebuttal experts shall be limited to responding to opinions stated by initial experts.” (Id.)
                                                                          22    (emphasis added). This explicitly precludes experts from offering new opinions in their
                                                                          23    rebuttal reports.
                                                                          24            After significant fact discovery, the Court extended the above deadlines and most
                                                                          25    recently entered an amended scheduling order that gave Plaintiff until April 2, 2021, to
                                                                          26    serve expert reports and Defendants until May 7, 2021, to serve expert reports. (Dkt.
                                                                          27    120). The Order further extended Plaintiff’s deadline to provide rebuttal reports until June
                                                                          28    18, 2021. (Id.). The rebuttal deadline was later extended to July 16, 2021, pursuant to
                                                                                                                             3
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                                                                           1    Plaintiff’s unopposed motion, which also gave Defendants a deadline to serve sur-rebuttal
                                                                           2    reports by July 30, 2021. (Dkt. 145, 148).
                                                                           3       II.      Plaintiff’s Initial Expert Disclosure of Dr. Vredenburgh
                                                                           4             On April 2, 2021, Plaintiff disclosed her initial expert reports, which included a
                                                                           5    report from Dr. Alison Vredenburgh. (April 2, 2021 Report of Dr. Vredenburgh, attached
                                                                           6    as Exhibit 1). Dr. Vredenburgh is disclosed as an ergonomist and human factors expert
                                                                           7    and offers opinions about the Rock ‘n Play Sleeper’s warning label (among other human
                                                                           8    factors opinions) and concludes the warning label on the Rock ‘n Play Sleeper was not
                                                                           9    adequate. Critically, however, Dr. Vredenburgh never prepared or included any
                                                                          10    alternative warnings in her original report like she does in her supplemental and rebuttal
                                                                          11    reports, as discussed below.
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                                                                          12       III.     Defendants’ Expert Disclosures
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                                                                          13             On May 7, 2021, Defendants served seven expert reports, including reports from
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                                                                          14    Steve Arndt, Ph.D., C.H.F.P. (“Dr. Arndt”) and Dorothy Drago, M.A., M.P.H. (“Ms.
                                                                          15    Drago”). Dr. Arndt is a certified human factors professional and offers opinions on topics
                                                                          16    similar to Dr. Vredenburgh. (May 7, 2021 Expert Report of Dr. Arndt, pp. 11, 15, 31, 64-
                                                                          17    66, attached as Exhibit 2). Ms. Drago is an expert who specializes in CPSC regulations
                                                                          18    and standards and offers opinions on how the product’s warning label complied with
                                                                          19    regulatory standards (among other opinions not relevant to this Motion).
                                                                          20             As to Dr. Vredenburgh’s opinions about the warning label on the Rock ‘n Play
                                                                          21    Sleeper, Dr. Arndt concluded the warning was sufficient for the safe use of the product
                                                                          22    and that the warning label does not need to be visible from the front of the Rock ‘n Play
                                                                          23    Sleeper for it to be conspicuous within the meaning of regulatory standards. (Id. at 11,
                                                                          24    70). He further opined that Plaintiffs’ deposition testimony conclusively shows the
                                                                          25    warning label was sufficient and conspicuous because both parents noticed it, read it,
                                                                          26    understood it, and were familiar with it:
                                                                                              Q. And you had seen warnings before; correct?
                                                                          27

                                                                          28                   A. Yeah.

                                                                                                                             4
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                                                                                                                          ***
                                                                           1

                                                                           2                 Q. And it says at the top failure to follow these warnings and
                                                                                             the instructions to result in serious injury or death and you had
                                                                           3                 seen that part; right?
                                                                           4                 A. Yes.
                                                                           5
                                                                                             Q. And it says number one, always use restraint system. Do
                                                                           6                 you see that?

                                                                           7                 A. Yes.
                                                                           8                                              ***
                                                                           9
                                                                                             Q. And you understood that it was absolutely important to use
                                                                          10                 the restraint system; right?

                                                                          11                 A. Yes.
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                                                                          12    (K. Courkamp Dep. Transcript, at 101-02, Exhibit 3).
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                                                                          13
                                                                                             Q. Of course, you said you were familiar with the warnings
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                                                                          14                 and you were constantly checking them against Zoey's
                                                                                             developmental age; right?
                                                                          15
                                                                                             A. Right.
                                                                          16

                                                                          17
                                                                                                                          ***

                                                                          18                 Q. So, for example, it says always use the restraint system in
                                                                                             all caps; correct?
                                                                          19
                                                                                             A. Yes.
                                                                          20

                                                                          21
                                                                                             Q. And there aren’t any -- it just says always use the restraint
                                                                                             system; correct?
                                                                          22
                                                                                             A. Yes.
                                                                          23
                                                                                             Q. And you knew that it was important to always use the
                                                                          24                 restraint systems; right?
                                                                          25
                                                                                             A. Yes.
                                                                          26
                                                                                             Q. And you understood the restraint systems to be the buckle
                                                                          27                 the crotch restraint which buckled around the baby's waste;
                                                                                             correct?
                                                                          28
                                                                                                                           5
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                                                                                               A. Yes.
                                                                           1

                                                                           2    (A. Olson Dep. Transcript, at 194-95, Exhibit 4).
                                                                                         Ms. Drago opined that, by using the developmental milestone “pushing up on
                                                                           3
                                                                                hands and knees,” Defendants’ warning “subsumes” warning against the more advanced
                                                                           4
                                                                                developmental milestone of rolling over. (May 7, 2021 Report of Ms. Drago, p. 24,
                                                                           5
                                                                                Exhibit 5). Thus, even though the word “rollover” was not specifically referenced in the
                                                                           6
                                                                                warning, the warning label accounted for it anyway. Ms. Drago also discussed Dr.
                                                                           7
                                                                                Vredenburgh’s opinion about Defendants’ failure to specify “age of use” on the warning
                                                                           8
                                                                                label of the product by explaining Fisher‐Price’s standard procedure is to include
                                                                           9
                                                                                “developmental level[s]” for juvenile products, instead of age. (Id.) This approach was
                                                                          10
                                                                                reasonable because children of the same age often reach very different developmental
                                                                          11
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                                                                                milestones.
                                                                          12
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                                                                                   IV.      Dr. Vredenburgh’s June 7, 2021 Supplemental Expert Report
                                                                          13
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                                                                                         On June 7, 2021, Plaintiff served a “supplemental expert report” of Dr.
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                                                                          14
                                                                                Vredenburgh. (See June 7, 2021 Supplemental Expert Report of Dr. Vredenburgh,
                                                                          15
                                                                                Exhibit 6). In this supplemental report, Dr. Vredenburgh offers new opinions not
                                                                          16
                                                                                included in her original report—namely, she proposed and included warning labels for
                                                                          17
                                                                                the Rock ‘n Play Sleeper that she believes would have been more adequate as to content
                                                                          18
                                                                                and location. (Id. at 1). She opined—for the first time—that the warning label should
                                                                          19
                                                                                have included the sentences “Babies have suffocated and died from rolling over on added
                                                                          20
                                                                                pillows, blankets, and extra padding in inclined sleep products[;]” and “Babies have
                                                                          21
                                                                                suffocated and died from rolling over in inclined sleep products.” (Id.) (emphasis in
                                                                          22
                                                                                original). She also opined that the warning label should have advised parents to stop using
                                                                          23
                                                                                the product “when the baby reaches 5 months.” (Id.) (emphasis in original). She further
                                                                          24
                                                                                included pictures of where she believes the warning should have been located on the
                                                                          25
                                                                                product to make it more conspicuous to users.
                                                                          26
                                                                                         Neither the proposed warnings nor the photographs about the location of the
                                                                          27
                                                                                warning was included in her original report, and Dr. Vredenburgh provided no
                                                                          28
                                                                                                                            6
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                                                                           1    justification as to why these new opinions could not have been included in her original
                                                                           2    report. The only claimed justification was that her supplemental report was based on an
                                                                           3    “inspection of the exemplar Fisher Price Rock ‘n Play inclined sleeper” and review of
                                                                           4    “additional material,” including the following three documents:
                                                                           5                1. Drago ballot 04/29/19 for F15 (MATTEL-COU0839240-839242);
                                                                           6                2. Email Chain (MATTEL-COU1149138); and
                                                                           7                3. Rollover Hazard Visibility Test (MATTEL-COU0843402).
                                                                           8             All these documents were available to Dr. Vredenburgh before she prepared her
                                                                           9    original report. The Drago ballot (item 1 above) was produced in this case on October
                                                                          10    30, 2020, over five months before Plaintiff’s original expert report deadline. The email
                                                                          11    chain involving Michael Steinwachs (item 2 above) was produced on March 6, 2021
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                                                                          12    (Bates MATTEL-COU-1088542), a month before Plaintiff’s expert disclosure deadline.2
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                                                                          13    The rollover visibility test (item 3 above) was produced on February 10, 2021, nearly two
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                                                                          14    months before Plaintiff’s original expert report deadline. As to the inspection of the
                                                                          15    exemplar Rock ‘n Play Sleeper, Dr. Vredenburgh’s April 2, 2021 reliance list specifically
                                                                          16    states she examined both an exemplar Rock ‘n Play Sleeper and the subject Rock ‘n Play
                                                                          17    Sleeper, confirming these were also available to her before she prepared her original
                                                                          18    report. (Ex. 1 at 44).
                                                                          19        V.      Dr. Vredenburgh’s July 16, 2021 Rebuttal Expert Report
                                                                          20             On July 16, 2021, Dr. Vredenburgh provided a “rebuttal report.” (See July 16,
                                                                          21    2021 Rebuttal Report of Dr. Vredenburgh, Exhibit 7). While this report purports to rebut
                                                                          22    opinions by Dr. Arndt and Ms. Drago, it actually contains several new opinions that were
                                                                          23    not in her original report, including: (1) an opinion about differentiating between “notice”
                                                                          24    and “evidence” of a hazardous condition (Ex. 7 at 1-4); (2) an opinion about the alleged
                                                                          25    failure of Fisher-Price to conduct “FMEA and testing” (Id. at 4-6); and (3) alternative
                                                                          26    2
                                                                                 The e-mail to which Dr. Vredenburgh cites (Bates COU1149138, produced on May 7,
                                                                          27    2021) includes a duplicative version of the Michael Steinwachs e-mail that was
                                                                                previously produced on March 6, 2021, and is the only portion of this e-mail chain on
                                                                          28    which Dr. Vredenburgh relies.
                                                                                                                             7
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                                                                           1    warnings opinions based on recent “interviews” with Plaintiffs in which Dr. Vredenburgh
                                                                           2    improperly seeks to change their sworn deposition testimony (Id. at 6-19; see also
                                                                           3    COU_009047, Exhibit 8; COU_009050, Exhibit 9). In direct contradiction to their
                                                                           4    deposition testimony, Plaintiffs now claim—8 months after their depositions—that they
                                                                           5    did not fully understand the warnings and would have acted differently had the Rock ‘n
                                                                           6    Play Sleeper included the warnings proposed by Dr. Vredenburgh. (Ex. 7, Dr.,
                                                                           7    Vredenburgh’s Rebuttal Report, at COU_009047 (“Interview with Andrew Olson”) and
                                                                           8    COU_009050 (“Interview with Katie Courkamp”)). Specifically, they state in their
                                                                           9    “interviews” that they did not think the statements on the subject product under “fall
                                                                          10    hazard” applied to the possibility of suffocation, and that they would not have purchased
                                                                          11    the product or stopped using it if it included Dr. Vredenburgh’s proposed warning. (Id.).
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                                                                          12    These new opinions are not proper for either a supplemental or rebuttal expert report, and
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                                                                          13    should be stricken.
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                                                                          14                                          ARGUMENT
                                                                          15       I.      Dr. Vredenburgh’s June 7, 2021 supplemental expert report is improper
                                                                          16               and should be stricken.
                                                                                        Supplementing expert reports under Fed. R. Civ. P. 26(e)(2) is limited to
                                                                          17
                                                                                “correcting inaccuracies, or filling the interstices of an incomplete report based on
                                                                          18
                                                                                information that was not available at the time of the initial disclosure.” Keener v.
                                                                          19
                                                                                United States, 181 F.R.D. 639, 640 (D. Mont. 1998) (emphasis added); see also Ariz. Oil
                                                                          20
                                                                                Holdings LLC v. BP W. Coast Prods. LLC, No. CV-14-00569-PHX-GMS, 2015 U.S.
                                                                          21
                                                                                Dist. LEXIS 194151, at *4 (D. Ariz. May 29, 2015) (Snow, J.). The duty to supplement
                                                                          22
                                                                                under Rule 26(e) “does not give license to sandbag one’s opponent with claims and issues
                                                                          23
                                                                                which should have been included in the expert witness’ [original] report.” Reinsdorf v.
                                                                          24
                                                                                Skechers U.S.A., 922 F. Supp. 2d 866, 880 (C.D. Cal. 2013).
                                                                          25
                                                                                        Rule 26(e) is also not “a loophole through which a party who submits partial expert
                                                                          26
                                                                                witness disclosures, or who wishes to revise [its] disclosures in light of [its] opponent’s
                                                                          27
                                                                                challenges to the analysis and conclusions therein, can add to them to [its] advantage after
                                                                          28
                                                                                                                             8
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                                                                           1    the court’s deadline for doing so has passed.” Luke v. Family Care & Urgent Med.
                                                                           2    Clinics, 323 F. App’x 496, 500 (9th Cir. 2009). Otherwise, Rule 26(e) “would essentially
                                                                           3    allow for unlimited bolstering of expert opinions,” which “would [wreak] havoc in docket
                                                                           4    control and amount to unlimited expert opinion preparation.” Akeva L.L. C. v. Mizuno
                                                                           5    Corp., 212 F.R.D. 306, 310 (M.D.N.C. 2002). “Accordingly, a supplemental expert
                                                                           6    report that states additional opinions or seeks to ‘strengthen’ or ‘deepen’ opinions
                                                                           7    expressed in the original expert report is beyond the scope of proper supplementation and
                                                                           8    subject to exclusion under Rule 37(c).” Plumley v. Mockett, 836 F. Supp. 2d 1053, 1062
                                                                           9    (C.D. Cal. 2010).
                                                                          10           For these reasons, this Court has stricken supplemental and/or rebuttal expert
                                                                          11    reports that offer new opinions based on information available to the parties before the
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                                                                          12    original expert disclosure deadline—as is the case here. See, e.g., Universal Engraving,
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                                                                          13    Inc. v. Metal Magic, Inc., No. 08-1944-PHX-GMS, 2010 U.S. Dist. LEXIS 146741, at
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                                                                          14    *7 (D. Ariz. Jan. 14, 2010) (“As both parties are by now aware, the Court takes the
                                                                          15    deadlines and procedures set forth in its Case Management Orders seriously, and expects
                                                                          16    that all parties will do the same. Thus, in the absence of good cause, Plaintiff was not
                                                                          17    permitted to supplement the opinions of its expert trial witness after the time required for
                                                                          18    doing so in the Court’s Case Management Order had expired.”) (Snow, J.); Ariz. Oil
                                                                          19    Holdings LLC v. BP W. Coast Prods. LLC, No. CV-14-00569-PHX-GMS, 2015 U.S.
                                                                          20    Dist. LEXIS 194151, at *5 (D. Ariz. May 29, 2015) (striking Plaintiffs’ supplemental
                                                                          21    report that proffered additional opinions on damages based on material “Plaintiffs were
                                                                          22    either aware or should have reasonably become aware of”) (Snow, J.); Verco Decking
                                                                          23    Inc. v. Consol. Sys., No. CV-11-02516-PHX-GMS, 2015 U.S. Dist. LEXIS 179702, at *4
                                                                          24    (D. Ariz. July 21, 2015) (striking Defendants’ supplemental expert report due to lack of
                                                                          25    justification for failure to include the contents in the original report) (Snow, J.); see also
                                                                          26    Keener, 181 F.R.D. at 639-641 (striking “supplemental” report and limiting expert’s
                                                                          27    testimony to initial report where “supplemental” report included new opinions based on
                                                                          28    information available at the time of the expert’s initial report).
                                                                                                                              9
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                                                                           1             Dr. Vredenburgh’s June 7, 2021 “supplemental report” is improper for the same
                                                                           2    reason as those stricken in the cases cited above—it contains new opinions, including
                                                                           3    alternative warnings she claims should have been on the subject product and would have
                                                                           4    made the warnings adequate. The “supplemental report” does not attempt to correct an
                                                                           5    inaccuracy in Dr. Vredenburgh’s original report nor does it rely on data that was not
                                                                           6    available to her when she prepared her original report. As mentioned above, all the
                                                                           7    documents cited in the “supplemental report” were available to Dr. Vredenburgh before
                                                                           8    she prepared her original report. (Exhibit 1 at 44; supra at 7). Once the layers of the
                                                                           9    “supplemental report” are peeled, it is obvious that Dr. Vredenburgh’s intent is to bolster
                                                                          10    her original report with new opinions she did not initially offer, which is not the purpose
                                                                          11    of a supplemental report. Plumley, 836 F. Supp. 2d at 1062 (supplemental report cannot
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                                                                          12    be used to “strengthen” or “deepen” original report). Dr. Vredenburgh’s supplemental
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                                                                          13    report should therefore be stricken.
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                                                                          14       II.      Dr. Vredenburgh’s July 16, 2021 rebuttal report should be stricken
                                                                          15                because it incorporates her improper supplemental opinions, includes
                                                                                            additional new opinions, and relies on inappropriate interviews of
                                                                          16                Plaintiffs that materially change their sworn deposition testimony.
                                                                          17             Rebuttal reports are limited to contradicting or rebutting new issues raised by
                                                                          18    the opposing side’s experts. They are not intended as a forum to raise new issues or offer
                                                                          19    new opinions that could have/should have been addressed in an initial report. See Armer
                                                                          20    v. CSAA Gen. Ins. Co., No. CV-19-04402-PHX-DWL, 2020 U.S. Dist. LEXIS 101851,
                                                                          21    at *15 (D. Ariz. June 10, 2020) (“The function of rebuttal testimony is to explain, repel,
                                                                          22    counteract or disprove evidence of the adverse party.”); Facciola v. Greenberg Traurig
                                                                          23    LLP, 2012 U.S. Dist. LEXIS 59352, 2012 WL 1242382, *1 (D. Ariz. 2012) (“Rebuttal
                                                                          24    reports cannot be used to introduce new theories or to correct oversights in the plaintiffs’
                                                                          25    case in chief.”); Stephenson v. Wyeth LLC, 2011 U.S. Dist. LEXIS 119013, 2011 WL
                                                                          26    4900039, *1 (D. Kan. 2011) (“A party . . . may not use a rebuttal expert to introduce new
                                                                          27    legal theories.”). A plaintiff cannot proffer rebuttal opinions countering Defendants’
                                                                          28    expert opinions that she should have reasonably foreseen. Armer, 2020 U.S. Dist. LEXIS
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                                                                           1    101851, *18; see also Faigin v. Kelly, 184 F.3d 67, 85-86 (1st Cir. 1999) (affirming
                                                                           2    disallowance of plaintiff’s rebuttal evidence because it was intended to address a long-
                                                                           3    known defense: “When a party knows that a contested matter is in the case, yet fails to
                                                                           4    address it in a timely fashion, he scarcely can be heard to complain that the trial court
                                                                           5    refused to give him a second nibble at the cherry. This principle has particular bite where,
                                                                           6    as here, nothing new or unanticipated surfaced during the defense case that even arguably
                                                                           7    changed the topography of the battlefield.”). This Court’s scheduling order affirms this
                                                                           8    well-recognized precedent: “Rebuttal experts shall be limited to responding to opinions
                                                                           9    stated by initial experts.” (Dkt. 34) (emphasis added). In other words, this Court has
                                                                          10    already made clear that rebuttal reports are not an opportunity to have a second bite at the
                                                                          11    apple via new opinions, which is what Dr. Vredenburgh does here.
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                                                                          12           Here, Dr. Vredenburgh’s rebuttal report is not a rebuttal to any of Defendants’
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                                                                          13    experts’ reports, but is instead a second bite at the apple and includes new opinions that
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                                                                          14    were not in her initial report, such as: (1) an opinion about differentiating between
                                                                          15    “notice” and “evidence” of a hazardous condition (Ex. 7 at 1-4); (2) an opinion about the
                                                                          16    alleged failure of Fisher-Price to conduct “FMEA and testing” (Id. at 4-6); and (3)
                                                                          17    alternative warnings opinions based on recent “interviews” with Plaintiffs in which Dr.
                                                                          18    Vredenburgh improperly seeks to change their sworn deposition testimony, as discussed
                                                                          19    more fully below. (Id. at 6-19; see also COU_009047, Ex. 8; COU_009050, Ex. 9). These
                                                                          20    new opinions should be stricken.
                                                                          21           Dr. Vredenburgh’s post-deposition interviews of Plaintiffs taken on June 16, 2021
                                                                          22    are particularly egregious. Seemingly recognizing that Plaintiffs’ sworn testimony about
                                                                          23    their knowledge, understanding, and familiarity of the warnings was inconsistent with
                                                                          24    the opinions she plans to offer, Dr. Vredenburgh conducted “interviews” of Plaintiffs
                                                                          25    with the sole purpose of materially changing their deposition testimony and upending
                                                                          26    nearly a year of discovery that has taken place since Plaintiffs were deposed in October
                                                                          27    2020. Dr. Vredenburgh claims these interviews were necessary because “the parents’
                                                                          28
                                                                                                                            11
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                                                                           1    depositions did not ask key questions about their understanding of the hazards with [the]
                                                                           2    use [of the Rock ‘n Play Sleeper].” (Ex. 7, at 18).
                                                                           3           Comparing Plaintiffs’ sworn deposition testimony to their “interviews” with Dr.
                                                                           4    Vredenburgh underscores just how egregious these interviews are. At their depositions,
                                                                           5    Plaintiffs testified unequivocally that they saw the warnings on the Rock ‘n Play Sleeper,
                                                                           6    understood them, were familiar with them, and knew the importance of using the
                                                                           7    restraints (yet they ignored these warnings anyway). (See supra at pp. 4-6; see also Ex.
                                                                           8    3, K. Courkamp Dep. Tr. at 101-02; Ex. 4, A. Olson Dep. Tr. at 194-95). Now—8 months
                                                                           9    after their depositions—they claim they did not fully understand the warnings and would
                                                                          10    have acted differently had the Rock ‘n Play Sleeper included the warnings proposed by
                                                                          11    Dr. Vredenburgh. (Ex. 7, Dr., Vredenburgh’s Rebuttal Report, at COU_009047
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                                                                          12    (“Interview with Andrew Olson”) and COU_009050 (“Interview with Katie
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                                                                          13    Courkamp”)). Specifically, they state in their “interviews” that they did not think the
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                                                                          14    statements on the subject product under “fall hazard” applied to the possibility of
                                                                          15    suffocation, and that they would not have purchased the product or stopped using it if it
                                                                          16    included Dr. Vredenburgh’s proposed warning—completely contradicting their
                                                                          17    deposition testimony that understood the warnings and were familiar with them. (Id.).
                                                                          18           For obvious reasons, conducting these types of “interviews” are not the
                                                                          19    appropriate role of an expert witness—experts form opinions on the record as it exists;
                                                                          20    they do not change or shape the record when what exists is inconvenient for their
                                                                          21    opinions. Further, Plaintiffs were questioned extensively at their deposition about the
                                                                          22    Rock ‘n Play Sleeper’s warnings, including whether they saw the warnings and
                                                                          23    understood them, and they were represented by counsel. To the extent Plaintiffs believed
                                                                          24    Defendants’ cross-examination left the record unclear or incomplete, the time for their
                                                                          25    counsel to correct it was at the deposition—not 8 months later.3
                                                                          26

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                                                                                3
                                                                                 Plaintiffs also did not submit an errata within thirty days of their depositions, as required
                                                                          28    under Fed. R. Civ. P. 30(e).
                                                                                                                             12
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                                                                           1           Dr. Vredenburgh’s “interviews” are nothing more than self-serving “after-the-
                                                                           2    fact” contradictory statements that are tantamount to sham affidavits routinely rejected
                                                                           3    by courts across the country. See Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th
                                                                           4    Cir. 1991) (holding that “a party cannot create an issue of fact by an affidavit
                                                                           5    contradicting his prior deposition testimony”); See Foster v. Arcata Associates, 772 F.2d
                                                                           6    1453, 1462 (9th Cir. 1985) (“If a party who has been examined at length on deposition
                                                                           7    could raise an issue of fact simply by submitting an affidavit contradicting his own prior
                                                                           8    testimony, this would greatly diminish the utility of summary judgment as a procedure
                                                                           9    for screening out sham issues of fact.”).
                                                                          10           Similarly here, Dr. Vredenburgh should not be permitted to create new evidence,
                                                                          11    and then form new opinions based on that evidence, when that evidence contradicts sworn
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                                                                          12    deposition testimony already given by the Plaintiffs in this case. To permit such a tactic
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                                                                          13    would mean deposition testimony is never truly final and experts will have carte blanche
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                                                                          14    to simply ask a party supposedly “new” questions to wiggle out of inconvenient
                                                                          15    deposition answers. For this reason and all the others discussed above, the Court should
                                                                          16    strike the rebuttal report.
                                                                          17                                         CONCLUSION
                                                                          18           For the reasons noted above, Defendants respectfully request this Court enter an
                                                                          19    Order striking the June 7, 2021 Supplemental Expert Report and July 16, 2021 Rebuttal
                                                                          20    Expert Report of Dr. Vredenburgh.
                                                                          21           RESPECTFULLY SUBMITTED this 30th day of July 2021.
                                                                          22                                  GREENBERG TRAURIG LLP
                                                                          23
                                                                                                              By: /s/ Aaron T. Lloyd
                                                                          24                                      Lori G. Cohen*
                                                                                                                  Mary-Olga Lovett*
                                                                          25                                      Brandon D. Cox*
                                                                                                                  Nicole M. Goodwin
                                                                          26                                      Aaron T. Lloyd
                                                                                                                  *Pro Hac Vice
                                                                          27                                      Attorneys for Defendants Mattel, Inc. and Fisher-
                                                                                                                 Price, Inc.
                                                                          28
                                                                                                                            13
                                                                               Case 2:19-cv-02689-GMS Document 154 Filed 07/30/21 Page 14 of 14


                                                                                                           CERTIFICATE OF SERVICE
                                                                           1
                                                                                      I hereby certify that on July 30, 2021, I electronically transmitted the attached
                                                                           2    document to the Clerk’s Office using CM/ECF System for filing and distribution to the
                                                                                following registered participants of the CM/ECF System:
                                                                           3
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                                                                           9

                                                                          10                                             By: /s/ Aaron T. Lloyd
                                                                                                                             Greenberg Traurig, LLP
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